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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION



UNITED STATES OF AMERICA



VS.                                                  CRIMINAL NO. 3:12CR88DCB-FKB
                                                     CIVIL NO. 3:14cv355DCB-FKB


KEITH DEWAYNE TAYLOR

                                             ORDER

        The Court having reviewed the defendant's motion to vacate, set aside or correct sentence

pursuant to 28 U.S.C. § 2255 filed herein; upon motions [Docket Entry 323 and 324] of the

United States, and upon a finding that the defendant alleges ineffective assistance of counsel,

        IT IS THEREFORE ORDERED that the government furnish a copy of the defendant's

motion and brief to former counsel for the movant in the above-mentioned proceedings, Cynthia

A. Stewart, and that said former counsel for the movant respond within thirty days of this Order

by written affidavit to the allegations made by the movant in the motion, with a copy of the

affidavit provided to the government, and the Court further and specifically finds that the movant

has waived his right to claim an attorney-client privilege in regard to these proceedings, and

        IT IS FURTHER ORDERED that the government submit its Response no later than

thirty days after the submission of the above-referenced affidavits.

        ORDERED on this, the        25th day of August , 2014.


                                                 s/David Bramlett e_______
                                              DAVID C. BRAMLETTE, III.
                                              UNITED STATES DISTRICT COURT JUDGE
